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                                United States District Court
                                  SOUTHERN DISTRICT OF CALIFORNIA

                           NOTICE OF DOCUMENT DISCREPANCY

TO: ☒ U.S. DISTRICT JUDGE / ☐ U.S. MAGISTRATE JUDGE: The Hon. Gonzalo P. Curiel
 FROM: J. Rinehart, Deputy Clerk                    RECEIVED DATE: June 10, 2020
 CASE NO. 16-cv-02415-GPC-BGS                       DOC FILED BY: James E. Shelton
 CASE TITLE: Osgood et al v. Main Streat Marketing, LLC et al
 DOCUMENT ENTITLED: Acknowledgement of Assignment of Judgment

       Upon the submission of the attached document(s), the following discrepancies are noted:


 Civ.L. Rule 5.2 - Missing Proof of Service;

 OTHER: LR 5(1)(h) – Filer is not a party to the case



                                                          Date Forwarded:      June 11, 2020

                  ORDER OF THE JUDGE / MAGISTRATE JUDGE

IT IS HEREBY ORDERED:
 ☒ The document is to be filed nunc pro tunc to date received.
      The document is NOT to be filed. But instead REJECTED, and it is ORDERED that the Clerk
 ☐
      serve a copy of this order on all parties.
Rejected documents to be returned to pro se or inmate? ☐ Yes.  Court copy retained by chambers ☐
         Any further failure to comply with the Local Rules may lead to penalties pursuant to
                          Civil Local Rule 83.1 or Criminal Local Rule 57.1.


Dated: June 22, 2020
